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                        IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF NEW JERSEY

  ROBERT BRADEN,                               :       CIVIL ACTION NO.
                                               :       14-4215-RMB-JS
                               Plaintiff,      :
                   v.                          :
                                               :
  LOCKHEED MARTIN                              :
  CORPORATION,                                 :
                                               :
                         Defendant.            :
                                              :


               STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties stipulate to

dismissal with prejudice of Robert Braden’s claims, with the parties to bear their own costs and

attorneys’ fees.


                                               Respectfully submitted,



  Dated: March 28, 2018                        BY:     /s/ Stephen G. Console, Esq.
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